  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  DISTRICTOFARIZONA
                                        (State)
                                                                                                                              Faec
  Case number [if known):                                            Chapter you are filing under:
                                                                                                                                        ' 0 S Z02?
                         Q Check if this is an                       Si Chapter/
                                                                     U Chapter 11
                            amended filing
                                                                     a Chapter 12
                                                                     a Chapter13                                                                     VA


Official Form 101
           ntar                etition for ndividuals                                                iling for : an ruptc                                  04/20

The bankruptcyforms use you and Debtor 1 to referto a debtorfiling alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, theseforms use you to ask for information from both debtors. For example, if a form asks, "Doyou own a car,"
the answerwould be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheetto this form. On the top of any additional pages, write your nameand case number
(if known). Answer every question.


 Part 1:     Identify Yourself

                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case);
 1. Your full name
     Write the name that is on your      JAYME
     government-issued picture
                                        First name                                                         First name
     identification (for example,
     your driver's license or            K
     passport).                         Middle name                                                        Middle name

     Bring your picture                  FISHER
     identification to your meeting     Last name                                                          Last name
     with the trustee.
                                                          II, III)
                                        Suffix (Sr., Jr., II,                                              Suffix (Sr., Jr., II, III)




 2. All other names you
    have used in the last 8             First name                                                         First name
    years
     Include your married or            Middle name                                                        Middle name
     maiden names.
                                        Last name                                                          Last name



                                        First name                                                         First name


                                        Middle name                                                        Middle name


                                        Last name                                                          Last name




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Debtor1      JAYME K                               FISHER
                                                                                                 Case number w known)
             First Name   Middle Name              Last Name




 3. Only the last 4 digits of
    your Social Security                XXX      -xx- 8           5      1       8                      XXX      -   XX -
     number or federal                  OR                                                              OR
     Individual Taxpayer
     Identification number              9 XX        XX -                                                9 xx - xx -
    (ITIN)
                                        About Debtor 1:



 4. Any business names
    and Employer                        Q I have not used any business names or EINs.                   Q I have not used any business names or EINs.
    Identification Numbers
    (EIN) you have used in               LEGACYLAW, PLLC
    the last 8 years                    Business name                                                   Business name

     Include trade names and
    doing business as names             Business name                                                   Business name


                                          XX-XXXXXXX
                                        EIN                                                             EIN


                                        EIN                                                             EIN




 5. Where you live                                                                                      If Debtor 2 lives at a different address:


                                         15819 NORTH 4TH AVENUE
                                        Number          Street                                          Number          Street




                                         PHOENIX                             AZ       85023
                                        City                                 State    ZIP Code          City                                  State    ZIP Code

                                         MARICOPACOUNTY
                                        County                                                          County


                                        If your mailing address is different from the one               If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                     any notices to this mailing address.



                                        Number         Street                                           Number          Street



                                        P.O. Box                                                        P. O. Box



                                        City                                 State   ZIP Code           City                                  State    ZIP Code




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              JAYME          K                     FISHER
Debtor 1                                                                                            Case number vt known)
              First Name    Middle Name            Last Name




     Why you are choosing                 Check one:                                                       Check one:
      this district to file for
      bankruptcy
                                          E2 Over the last 180 days before filing this petition,            1-1 Overthelast180daysbeforefilingthispetition,
                                              I have lived in this district longer than in any                 I have lived in this district longer than in any
                                             other district.                                                   other district.

                                          Q I haveanotherreason. Explain.                                  Q I have another reason. Explain.
                                             (See 28 U. S. C. §1408.)                                          (See 28 U. S.C. § 1408.)




 Part 2:     Tell the Court About Your Bankruptcy Case


 7. The chapter of the                    Checkone. (Fora briefdescription of each, see Notice Required by 11 U. S. C. § 342(b) for IndividualsFiling
    Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
    are choosing to file
     under
                                          Q Chapter 7
                                          a Chapter 11
                                          a Chapter 12
                                          1-1 Chapter13

 8. How you will pay the fee              St I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                          Q I needto paythe fee in installments. Ifyou choosethisoption, sign and attachthe
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          1-1 I requestthatmy fee bewaived(You may requestthis option only if you arefilingfor Chapter7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only ifyour income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


 s. Have you filed for                    a No
    bankruptcy within the
    last 8 years?                         Q Yes. District                                    When                       Case number
                                                                                                    MM/ DD/YYYY

                                                    District                                 When                       Case number
                                                                                                    MM/ DD/YYYY

                                                    District                                 When                       Case number
                                                                                                    MM/ DD/YYYY




 Official Form 101               Voluntary Petition for Individuals Filing for Bankruptcy                                                         page 3
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              JAYME              K                     FISHER
Debtor 1                                                                                                  Case number (ifknown)
              Firet Nama        Middle Name            Last Name




 10. Are any bankruptcy                       S No
     cases pending or being
     filed by a spouse who is                 1-1Yes. Debtor                                                                  Relationship to you
     not filing this case with                           District                                  When                       Case number, if known
     you, or by a business                                                                                MM / DD / YYYY
     partner, or by an
     affiliate?
                                                         Debtor                                                               Relationship to you
                                                         District                                  When                       Case number, if known
                                                                                                          MM/DD/YYYY


 11. Do you rent your                         [-1 No. Goto line 12.
     residence?                               S3 Yes. Has your landlord obtained an eviction judgment against you?
                                                         Q No. Goto line 12.
                                                         LI Yes. Fill out InitialStatement Aboutan Eviction Judgment AgainstYou (Form 101A) andfile it as
                                                               part of this bankruptcy petition.



 Part 3:     Report About Any Businesses You Own as a Sole Proprietor


 12. Are you a sole proprietor                21 No. Goto Part4.
     of any full- or part-time
     business?                                Q Yes. Nameand location of business
     A sole proprietorship is a
     business you operate as an
                                                      Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership, or
                                                      Number         Street
     LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.
                                                        City                                                       State          ZIP Code


                                                      Checkthe appropriate box to describe your business:
                                                      LI HealthCareBusiness(asdefinedin 11 U.S.C. § 101(27A))
                                                      1-1 Single Asset Real Estate (as defined in 11 U. S. C. § 101(51B))
                                                      a Stockbroker(asdefinedin 11 U.S.C. § 101(53A))
                                                      1-1 Commodity Broker (as defined in 11 U. S. C. § 101(6))
                                                      Q Noneofthe above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
 13. Are you filing under                     choosingto proceed underSubchapterV so that it can set appropriate deadlines. Ifyou indicatethat you
     Chapter 11 of the                        are a small businessdebtor or you are choosingto proceed underSubchapterV, you must attach your
     Bankruptcy Code, and                     most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
     are you a sma// business                 if any of these documents do not exist, follow the procedure in 11 U. S.C. § 1116(1)(B).
     debtor or a debtor as
     defined by 11 U.S. C. §                  S3 No. I am notfiling under Chapter 11 .
     1182(1)?
                                              Q No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     For a definition of sma//
                                                      the Bankruptcy Code.
     business debtor, see
     11 U. S.C. § 101(51D).                   Q Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                      Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 1 1

                                              Q Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) ofthe
                                                      Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11


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              JAYME          K                      FISHER
Debtor 1                                                                                             Case number 1,11known)
              First Name     Middle Name            Last Name




  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                Q No
     property that poses or is
     alleged to pose a threat              a Yes.    What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                     If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                     Where is the property?
                                                                              Number        Street




                                                                              City                                            State   ZIP Code




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              JAYME           K                      FISHER
Debtor 1                                                                                                 Case number pftaown)
              First Name     Middle l\arr           Last Name




 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling

                                            About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
 15. Tell the court whether
     you have received a
     briefing about credit                  You must check one:                                                  You must check one:
     counseling.
                                            £l I received a briefing from an approved credit                     Q I receiveda briefingfrom an approvedcredit
                                               counseling agency within the 180 days before I                        counseling agency within the 180 days before I
     The law requires that you                 filed this bankruptcy petition, and I received a                      filed this bankruptcy petition, and I received a
     receive a briefing about credit           certificate of completion.                                            certificate of completion.
     counseling before you file for
                                               Attach a copy of the certificate and the payment                      Attach a copy of the certificate and the payment
     bankruptcy. You must
                                               plan, if any, that you developed with the agency.                     plan, if any, that you developed with the agency.
     truthfully check one of the
     following choices. If you              1-1 I received a briefing from an approved credit                    1-1 I received a briefing from an approved credit
     cannot do so, you are not
                                               counseling agency within the 180 days before I                       counseling agency within the 180 days before I
     eligible to file.                         filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                           certificate of completion.
     If you file anyway, the court
                                               Within 14 days after you file this bankruptcy petition,               Within 14 days after you file this bankruptcy petition,
     can dismiss your case, you
                                               you MUST file a copy of the certificate and payment                   you MUST file a copy of the certificate and payment
     will lose whatever filing fee
                                               plan, if any.                                                         plan, if any.
     you paid, and your creditors
     can begin collection activities        Q I certifythatI askedforcreditcounseling                            Q I certifythatI askedforcreditcounseling
     again.                                    services from an approved agency, but was                             services from an approved agency, butwas
                                               unable to obtain those services during the 7                          unable to obtain those services during the 7
                                               days after I made my request, and exigent                             days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                         circumstances merit a 30-day temporary waiver
                                               of the requirement.                                                   of the requirement.
                                               To ask for a 30-day temporary waiver of the                          To askfor a 30-daytemporary waiverofthe
                                               requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                               required you to file this case.                                      required you to file this case.
                                               Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                    dissatisfiedwith your reasonsfor not receiving a
                                               briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                        You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                               may be dismissed.                                                    may be dismissed.
                                               Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                               days.                                                                days.

                                            Q I am not required to receive a briefing about                      Q I am notrequiredto receivea briefingabout
                                               credit counseling because of:                                        credit counseling because of:

                                               Q Incapacity. I have a mental illness or a mental                     1-1 Incapacity. I have a mental illness or a mental
                                                                  deficiency that makes me                                             deficiency that makes me
                                                                  incapable of realizing or making                                     incapable of realizing or making
                                                                  rational decisions about finances.                                   rational decisions about finances.

                                               Q Disability.      My physical disability causes me                   LI Disability. Myphysicaldisabilitycausesme
                                                                  to be unable to participate in a                                     to be unable to participate in a
                                                                  briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                  through the internet, even after I                                   through the internet, even after I
                                                                  reasonably tried to do so.                                           reasonably tried to do so.
                                               Q Active duty. I am currently on active military                      Q Activeduty. I amcurrentlyon activemilitary
                                                                  duty in a military combat zone.                                      duty in a military combat zone.
                                               If you believe you are not required to receive a                      If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




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             JAYME         K                       FISHER
Debtor 1                                                                                         Case number (fftown)
             First Name   Middle Name              Last Name




  Part 6:   Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U. S. C. § 101(8)
 16. What kind of debts do
                                              as "incurred by an individual primarily for a personal, family, or household purpose."
     you have?
                                              d No. Goto line 16b.
                                              Q Yes. Goto line 17.
                                        16b. Are your debts primarily business debts? Businessdebtsare debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              Q No. Go to line 16c.
                                              Q Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



 17. Are you filing under
     Chapter 7?                         Q No. I amnotfilingunderChapter7. Gotoline18.
     Do you estimate that after S3 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
     any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
     excluded and                                  13 No
     administrative expenses
     are paid that funds will be                   a Yes
     available for distribution
     to unsecured creditors?

 is. How many creditors do              a 1-49                                  a 1, 000-5,000                            01 25,001-50,000
     you estimate that you              a 50-99                                 a 5, 001-10,000                           1-1 50, 001-100, 000
     owe?                               a 100-199                               a 10,001-25,000                           1-1 Morethan 100,000
                                        LI 200-999
 19. How much do you                    a $0-$50,000                            1-1 $1,000,OQ1-$10million                 l-l $500, 000, 001-$1 billion
     estimate your assets to            1-1 $50,001-$100,000                    1-1 $10,000,001-$50million                l-l $1, 000, 000, 001-$10 billion
     be worth?                          l-l $100,001-$500,000                   a $50,000,001-$100million                 1-1 $10, 000, 000, 001-$50 billion
                                        Q $500, 001-$1 million                  LI $100, 000, 001-$500 million            a Morethan $50billion

 20. How much do you                    1-1 $0-$50,000                          I-I $1,000,001-$10million                 Q $500,000,001-$1 billion
     estimate your liabilities          a $50,001-$100,000                      [_l$10, 000,001-$50million                1-1 $1,000,000,001-$10billion
     to be?                             S $100,001-$500,000                     a $50,000,001-$100million                 a $10,OOQ,000,001-$50billion
                                        Q $500,001-$1 million                   a $100,000,001-$500million                1-1 Morethan$50billion
 Part 7:    Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                correct.

                                        If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U. S. C. § 342(b).
                                        I request relief in accordancewith the chapteroftitle 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines upto $250,000, or imprisonmentfor up to 20 years, or both.
                                        18U.S. C. §§152, 1341, 1519, and 3571.



                                            Sig at       of ebtor 1                                        Signature of Debtor 2

                                            Executedon ^ %l^^\                                             Executed on
                                                               MM / DO /YYYY                                             MM / DD       /YYYY


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             JAYME        K                        FISHER
Debtor 1                                                                                         Case number {ifKnown)
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
  For your attorney, if you are         to proceed underChapter7, 11, 12, or 13 oftitle 11, United States Code, and have explainedthe relief
  represented by one                    available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 1 1 U. S. C. § 342(b) and, in a case in which§ 707(b)(4)(D) applies, certifythat I have no
  If you are not represented            knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
  by an attorney, you do not
  need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                                MM    /    DD /YYYY




                                           Printed name



                                           Firm name



                                           Number       Street




                                           City                                                            State           ZIP Code




                                           Contact phone                                                   Email address




                                           Bar number                                                      State




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             JAYME        K                    FISHER
Debtor 1                                                                                      Case number vf known)
             First Name   Middle Name          Last Name




 For you if you are filing this         The law allows you, as an individual, to represent yourself in bankmptcy court, but you
 bankruptcy without an                  should understand that many people find it extremely difficult to represent
 attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
 If you are represented by
 an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
 need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U. S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. Ifyou do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. Thejudge can
                                        also deny you a dischargeof all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                        If you decideto file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiarwith the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules ofthe court in which your case is filed. You must also
                                        be familiarwith any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        a No
                                        El Yes

                                        Are you awarethat bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        1-1 No
                                        Q Yes
                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        21 No
                                        D Yes. Nameof Person
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledgethat I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am awarethat filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.




                                         Signa     e       Debt r 1                                      Signature of Debtor 2

                                        Date                  3 ^1^9.1                                   Date
                                                            MM/DD /YYYY                                                   MM/    DD /YYYY

                                        Contact phone +14802211128                                       Contact phone

                                        Cell phone                                                       Cell phone

                                        Emailaddress FISHERJK@Q.COM                                      Email address




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